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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 2:16-CV-14527-ROSENBERG/LYNCH


  PATRICIA A. KLEIN, on behalf of herself
  and all others similarly situated,


         Plaintiff,

  v.

  MCKINNON & HAMILTON, PLLC,
  a Florida Limited Liability Company, and
  CHARLES W. MCKINNON, individually,

        Defendants.
  _________________________________________/

                          NOTICE OF CLASS-WIDE SETTLEMENT
                           AND INTENT TO JOINTLY MOVE FOR
                      PRELIMINARY APPROVAL OF THE SETTLEMENT

         Plaintiff, Patricia A. Klein and Defendants, McKinnon & Hamilton, PLLC, and Charles

  W. McKinnon, hereby notify the Court that they have agreed upon terms of a class-wide

  settlement. The parties have reduced their settlement to a written settlement agreement and will

  attach it to the Joint Motion for Preliminary Approval of Class Settlement (pursuant to Fed. R. Civ.

  P. 23(e)), which they anticipate filing within 30 days.

         The parties suggest that all pending motions, future hearings and appearances be stayed

  pending the joint filing of the preliminary approval motion.


                                                       Respectfully submitted,

                                                         /s/ Leo W. Desmond
                                                       Leo W. Desmond, Esq.
                                                       Florida Bar No. 0041920
                                                       DESMOND LAW FIRM PC
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 21ST day of September 2017, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this to the counsel referenced below via U.S. Mail and/or some other

  authorized manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

  SERVICE LIST

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                                                      Respectfully submitted,

                                                       /s/ Leo W. Desmond
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